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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE
 NIPPON SHINYAKU CO., LTD.,               )
                                          )
            Plaintiff,                    )
                                          )
       v.                                 ) C.A. No. 21-1015-JLH
                                          )
 SAREPTA THERAPEUTICS, INC.               ) DEMAND FOR JURY TRIAL
                                          )
            Defendant.                    )
                                          )
                                          )
 SAREPTA THERAPEUTICS, INC. and THE )
 UNIVERSITY OF WESTERN AUSTRALIA, )
                                          )
            Defendant/Counter-Plaintiffs, )
                                          )
       v.                                 )
                                          )
 NIPPON SHINYAKU CO., LTD.                )
 and NS PHARMA, INC.,                     )
                                          )
            Plaintiff/Counter-Defendants. )


       JOINT SUBMISSION OF PARTIES’ COMPETING PROPOSED VERDICT FORMS

            Pursuant to the Court’s Stipulation and Amended Scheduling Order (D.I. 597) and , the parties

 Plaintiff /Counter-Defendant Nippon Shinyaku and Counter-Defendant NS Pharma, Inc., and

 Defendants/Counter-Plaintiffs Sarepta Therapeutics, Inc. and University of Western Australia

 (“UWA”) respectfully submit their competing proposed verdict forms for the trial scheduled to begin

 December 13, 2024 in this action. D.I. 597. The parties met and conferred but were unable to come to

 an agreement on a joint proposed verdict form. Nippon Shinyaku and NS Pharma’s proposed verdict

 form is attached hereto as Exhibit A. Sarepta and UWA’s proposed verdict form is attached hereto as

 Exhibit B. The parties will be prepared to address the differences in the alternative forms at the Court’s

 request.
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 Dated: November 25, 2024


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